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                                United Statesvs.Arm andoGonzalez
                                  CaseNo.12-20291-CR-CM A

                         AG R EED FA C TUA L BA SIS FO R G UILTY PL EA

         Beginning in approximately Novem ber 2004 and continuing through approximately
  M arch 2011, in M iami-Dade County, Florida and Henderson County, North Carolina and
  elsewhere,the defendant,ARM ANDO GONZALEZ (hereinaher SCGONZALEZ''),knowingly
  and willfully conspired with othersto commithealth care fraud,in violation ofTitle 18,United
  States Code,Section 1349.Begirming in approximately M arch 2010 and continuing through
  approximately December 2010,in M iami-Dade County,Florida and elsewhere,GONZALEZ
  conspired with co-defendant,John Thoen,to know ingly conductfinancialtransactionsaffecting
  interstate com merce involving the proceeds ofhealth care fraud,knowing thatthe transactions
  were designed in whole orin partto concealand disguisethenature ofthe proceeds,in violation
  ofTitle 18,UnitedStatesCode,Sections1956(h)and 1956(a)(1)(B)(i).
       ln the State of Florida,Health Care SolutionsNetwork,Inc.(iEHCSN-FL'') operated
  communitymentalhealth centers(CICM HC'')atthreeM iami-DadeCounty locationsto include:
   19355 South Dixie Highway; 10406 S.W . 186th Terrace;and 13155 S.W . 134th Street.ln the State of
  North Carolina.Health CareSolutionsNetwork,lncorporated ofNorth Carolina(ûIHCSN-NC'')operated
   a CM HC at l70 OId Naples Road, Hendersonville,North Carolina. Both HCSN-FL and HCSN-NC
   purported to provide partialhospitalization programs (1iPHP'') services to individualssuffering
   from mentalillness.

          GONZALEZ wasthe Directorand PresidentofHCSN-FL and the ChiefExecutive
   OftscerofHCSN-NC.Gonzalezwasalso PresidentofaFloridaCorporation,Psychiatric
   ConsultingNetwork,lnc.,(PCN)aconduittoconcealHCSN healthcarefraudproceeds.Atal1
   tim esm aterialhereto,GONZALEZ wastheleaderand organizerofahealth care fraud
   conspiracy atboth HCSN -FL and HCSN-NC.

          In Florida,GONZALEZ utilized patientrecruitersto solicitM edicareand M edicaid
   benefciariesfrom M iami-DadeCotmtyAssisted LivingFacilities(%ûALF'')toattendHCSN-FL.
   Utilizing patientrecruitersand hisrelatives,GONZALEZ would pay cash kickbacksto ALF
   ownersin exchange forbeneficiary information in orderto subm itclaim sto M edicareand
   FloridaM edicaid.Thebeneficiariesincluded individualssuffering from m entalretardation,
   dementiaand Alzheimer'sdiseasewho could notbenestfrom PHP services. ln furtherance of
   the health care fraud schem e,G ON ZA LEZ caused paym ents ofcash kickbacks to his co-
   conspirators.D anielM artinez,Ivon Perez and Raym ond Rivero asw ellas severalotherA LF
   ownersin M iam i,Florida.
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          AtGONZALEZ'Sdirection,HCSN -FL therapistsand otherpersonnelengaged in routine
  fabrication oftherapy notesand othermedicalrecordsthatwerethen utilized to supportfalseand
  fraudulentclaimsto governm entsponsored health carebenefitprogrnms,including M edicareand
  FloridaM edicaid.AtHCSN-FL,m any ofthem edicalrecordswere fabricated weeksorm onths
  afterthepatientswereadm itted to theCM HC forpurported PHP treatm ents.

         AtHCSN-NC,GONZALEZ orchestrated asim ilarly sophisticated health care fraud
  schemethatrelied heavily on a coregroup ofform erHCSN-FL em ployeesandco-conspirators.
  GONZALEZ would rely on thiscore groupofco-conspiratorsto fabricate and falsify medical
  recordsin responseto auditsby governmentsponsored health careprogram s,including
  M edicare.AtHCSN-NC,therapistsand otherpersonnelwould alsoroutinely fabricatetherapy
  notesand otherm edicalrecordsin supportoffalseand fraudulentclaim sto theM edicare
  program ,including m edicalrecordsdocumentingtherapy sessionsthatneveroccurred.

           Through ûsmarketers''and otherHCSN -NC personnel,GONZALEZ caused theroutine
   admission ofineligiblePHP beneficiaries,including individualssuffering from m ental
   retardation,dementia and Alzheimer'sdisease who could notbenefitfrom PHP services.
   HCSN -NC personnelroutinely provided patientswith cigarettesasan incentivefortheir
   attendance.HCSN-N C therapistswould som etimesresortto show ing moviesand then fabricate
   corresponding therapy notesasiflegitimatem entalhealth serviceswereprovided tothepatients.

          AtGONZALEZ'Sdirection,a HCSN-NC employeewould provide amedicalbillerwith
   patientcensusinfonnation usedto supportfraudulentM edicareclaim s.Forexam ple,HCSN-NC
   would routinely subm itfraudulentPHP claim sforM edicarepatientswho werenoteven present
   attheCM HC on thedaysthePHP serviceswerepurportedly rendered.

           During the time GONZALEZ owned and operated HCSN -FL and HCSN -NC,
   GON ZALEZ and hisco-conspiratorssubm itted approxim ately $63,745,000 in falseand
   fraudulentclaim sto theM edicare and Florida M edicaid programs.

          PCN wasaFlorida com oration with the following addressesin M iam i,Florida: 10406 S.W .
   l86th Terrace,M iami,Florida33l57sand l5160 S.W .136th Street,M iam i,Florida33196.PCN wasa
   shellentitythatpurportedly determ ined thenecessity and appropriatenessofcare rendered at
   HCSN .ln reality,PCN wasa conduitthatGONZALEZ utilized to launderHCSN health care
   fraud proceedsin an amountbetween $400,000 and $1,000,000.
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          ln 2010,GONZALEZ reached an agreementwith co-conspirator,John Thoen,to becom e
  presidentofPCN and forThoento becom ea signatoryon aPCN Chasebank account.
  GONZALEZ then directed Thoen to writePCN checksto GONZALEZ and hisco-conspirators
  utilizingtheproceedsgenerated from the HCSN health carefraud conspiracy.

          Thepreceding statementisa sum mary,madeforthepurposeofprovidingthe Courtwith
   afactualbasisfora guilty pleato thechargesagainstme. ltdoesnotincludea1lthefactsknown
   to me concerning crim inalactivity in which land othersengaged.lm ake thisstatement
   knowingly and voluntarily because Iam in factguilty ofthecrimescharged in Counts 1and 11
   ofthe Indictm entin CaseNo.12-20291-CR-CM A.


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                                                   RM AN DO G            Z
                                                  Defendant




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